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                       Kyle Jeffery Schwark vs.

                      Sheriff Fred Wegener, et al.




                    Deposition of Jeri Swann, R.N.

                             March 13, 2017




                                                                    Exhibit H
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·1· ·it says, Don't cut the strips, you know, in the              ·1· ·up and get away from -- it looked like he wanted to get
·2· ·literature about the medication.                             ·2· ·away from us.· And then the ambulance came.· You know, we
·3· · · · · ·Q.· · ·(By Mr. Lane)· Was it your understanding      ·3· ·were trying to get him on a back board and get him ready
·4· ·that Dr. Singer ordered half a strip or Dr. Fitting          ·4· ·for transport.· He was just not wanting to have that all
·5· ·ordered half a strip?                                        ·5· ·happen.
·6· · · · · ·A.· · ·I was under the assumption Dr. Singer had     ·6· · · · · ·Q.· · ·So what happened?
·7· ·said half a strip.                                           ·7· · · · · ·A.· · ·So they gave him an injection of some
·8· · · · · ·Q.· · ·Okay.· But the box -- the directions the      ·8· ·kind.· I just know from the record that it was the
·9· ·manufacturer gave you were in conflict with that?            ·9· ·Versed.
10· · · · · ·A.· · ·Were in conflict, yes.                        10· · · · · ·Q.· · ·What's the Versed?· Is that a sedative?
11· · · · · ·Q.· · ·So what did you do about that?                11· · · · · ·A.· · ·That's a sedative to help him calm down a
12· · · · · ·A.· · ·We followed the doctor's order.               12· ·little bit.
13· · · · · ·Q.· · ·Okay.· What did you see happen then?          13· · · · · ·Q.· · ·Okay.
14· · · · · ·A.· · ·Kyle was up and about.· He had a little       14· · · · · ·A.· · ·And then he did, fairly quickly.· We tried
15· ·something to eat.· He was sick to his stomach.               15· ·to explain to him, We don't want you to hurt yourself any
16· · · · · ·Q.· · ·Did you see him vomit?                        16· ·further, and we got him onto the board.· Because they
17· · · · · ·A.· · ·I know he was spitting.· I don't know that    17· ·have to do a restraint then, and nobody likes that.
18· ·I actually saw, you know, emesis in the trash can.· But I    18· · · · · ·Q.· · ·Okay.· What happened then?
19· ·know he was -- he was getting up and spitting and just       19· · · · · ·A.· · ·The ambulance took him to the hospital.
20· ·feeling sick to his stomach.                                 20· · · · · ·Q.· · ·Okay.· And what was your next interaction
21· · · · · ·Q.· · ·So then what happened?                        21· ·with him?
22· · · · · ·A.· · ·My next recollection is that he was sort      22· · · · · ·A.· · ·I didn't see him again until March, when
23· ·of leaning against the table -- kind of half on it, half     23· ·he came back.
24· ·not -- and had what appeared to be another seizure.· He      24· · · · · ·Q.· · ·Was this after his furlough?
25· ·made a -- I called it a grunt, but it was kind of a          25· · · · · ·A.· · ·After his furlough.

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·1· ·gurgle, a grunt.· Then he pitched forward onto the floor.    ·1· · · · · ·Q.· · ·And what did you see in March?
·2· · · · · ·Q.· · ·And what happened then?                       ·2· · · · · ·A.· · ·I don't recall, really, any interaction.
·3· · · · · ·A.· · ·He had hit his head, and he was having        ·3· ·I know at one point, I gave -- I had charted that I gave
·4· ·muscle contractions and was tight.· I was trying to keep     ·4· ·a medication to him -- which, according to the med sheet,
·5· ·him from hitting his head again on the -- there's a          ·5· ·would have been the Xanax -- one morning, on the 8th of
·6· ·cabinet just a little -- you know, a foot or two over. I     ·6· ·March.
·7· ·didn't want him to curl and get hurt any further.            ·7· · · · · ·Q.· · ·Okay.· Were you tuned into the notion of
·8· · · · · ·Q.· · ·So then what happened?                        ·8· ·what Dr. Singer had prescribed for him by way of Xanax
·9· · · · · ·A.· · ·Deputy Fenner came in right away.             ·9· ·and Suboxone, as opposed to what Dr. Fitting was having
10· ·Cathlene had gone to get the other deputy.· And then the     10· ·him take?
11· ·corporal checked in right away.                              11· · · · · · · · · MR. MICHALEK:· Object to form and
12· · · · · ·Q.· · ·What corporal?                                12· ·foundation.
13· · · · · ·A.· · ·At the time, it was probably Robertson.       13· · · · · · · · · MR. MICHALEK:· Object to form.
14· · · · · ·Q.· · ·Okay.                                         14· · · · · · · · · You can answer.
15· · · · · ·A.· · ·And then we immediately tried -- I told       15· · · · · ·A.· · ·I knew that there's -- I know there's
16· ·him to call the ambulance.· It was bad.                      16· ·always some question.· You know, you really want to be
17· · · · · ·Q.· · ·So what happened then?                        17· ·careful and follow our doctor's orders as clearly as
18· · · · · ·A.· · ·So the ambulance crew got -- well, we were    18· ·possible.· I don't recall that there was a great
19· ·trying to keep him -- because we didn't know if he had       19· ·discrepancy in which doctor prescribed what amounts of
20· ·any injuries, so we were trying to keep him as still as      20· ·the meds.· Eventually, Dr. Fitting gave us very clear
21· ·possible.· You know, he was confused and not sure of         21· ·orders that we should continue with the Xanax.· And then
22· ·where he was.· You know, with all of us standing around,     22· ·when he had the seizures, she said she would feel more
23· ·it was probably a little overwhelming.                       23· ·comfortable with the Librium, so we switched to the
24· · · · · · · · · He was angry and didn't want to be            24· ·Librium after the first seizure.
25· ·restrained or held down.· He wanted to get moving and get    25· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· If Dr. Singer gives


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·1· ·foundation.                                                  ·1· · · · · ·A.· · ·That would be --
·2· · · · · ·A.· · ·Uh-huh.                                       ·2· · · · · · · · · MR. ZIPORIN:· -- mischaracterization of
·3· · · · · ·Q.· · ·(By Mr. Lane)· Is that a "yes"?               ·3· ·the testimony.
·4· · · · · ·A.· · ·Yes.                                          ·4· · · · · ·A.· · ·-- less than he had been taking, yes.
·5· · · · · · · · · MR. ZIPORIN:· That was a different time       ·5· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· Do you know if
·6· ·frame, though.                                               ·6· ·you -- I mean, you've already said you did not know that
·7· · · · · · · · · MR. LANE:· Was it?                            ·7· ·withdrawing from Xanax could cause seizures, right?
·8· · · · · · · · · MR. MICHALEK:· The note you showed her was    ·8· · · · · ·A.· · ·I didn't specifically know that.
·9· ·from the February 2014 time frame.                           ·9· · · · · ·Q.· · ·Do you know whether any of your fellow
10· · · · · · · · · MR. LANE:· Okay.· I'm not trying to be        10· ·nurses had been alerted by anyone or had knowledge from
11· ·misleading here.                                             11· ·any source that abruptly cutting back your Xanax could
12· · · · · · · · · MR. MICHALEK:· He didn't have a seizure in    12· ·lead to seizures?
13· ·that time frame.                                             13· · · · · ·A.· · ·I don't have any knowledge whether they
14· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· Take a look at          14· ·had looked that up or received that information.
15· ·Exhibit 2, which is Bates stamped page 50.                   15· · · · · ·Q.· · ·But no one talked to you about it?
16· · · · · ·A.· · ·Okay.                                         16· · · · · ·A.· · ·Nobody specifically talked to me.
17· · · · · ·Q.· · ·Is this the medication sheet from November    17· · · · · ·Q.· · ·And when you say in your note, Seizure due
18· ·2013?                                                        18· ·to withdrawal, you're telling me, as you sit here right
19· · · · · ·A.· · ·One of them.· I believe there was two.        19· ·now, you think the withdrawal that you were referring to
20· · · · · ·Q.· · ·Okay.· And on the second page of that         20· ·was alcohol, right?
21· ·exhibit, page 51, it looks like he's getting alprazolam,     21· · · · · ·A.· · ·I think so.
22· ·2 milligrams -- excuse me -- 1 milligram the evening of      22· · · · · ·Q.· · ·Are you trained in observing delirium
23· ·November 13th and 2 milligrams the morning of the 14th;      23· ·tremens?
24· ·is that right?                                               24· · · · · ·A.· · ·I have knowledge of that.· I can't say
25· · · · · ·A.· · ·That's what that indicates.                   25· ·that I've taken a class or am specifically trained.

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·1· · · · · ·Q.· · ·So he had his seizure on the 14th, right?     ·1· ·That's something that's kind of come about on the job
·2· · · · · ·A.· · ·He did.                                       ·2· ·because you see different scenarios now.
·3· · · · · ·Q.· · ·He had been -- his Xanax dosage had been      ·3· · · · · ·Q.· · ·Do you know -- you would agree with me
·4· ·cut.· Assuming he had previously been given 4 milligrams     ·4· ·that if Kyle Schwark came into the jail with a low -- a
·5· ·self-medicating, this was cutting it in half; is that        ·5· ·relatively low blood alcohol content of .02, by the time
·6· ·right?                                                       ·6· ·he had a seizure, his BAC should have been about 0?
·7· · · · · · · · · MR. MICHALEK:· Object to form.                ·7· · · · · ·A.· · ·Uh-huh.
·8· · · · · ·Q.· · ·(By Mr. Lane)· Because he was getting two     ·8· · · · · · · · · MR. MICHALEK:· Object to form and
·9· ·on the 14th, right?                                          ·9· ·foundation.
10· · · · · · · · · MR. MICHALEK:· Object to form and             10· · · · · ·Q.· · ·(By Mr. Lane)· Is that a "yes"?
11· ·foundation.                                                  11· · · · · ·A.· · ·Yes.
12· · · · · · · · · MR. MICHALEK:· Object to form.                12· · · · · ·Q.· · ·Do you know whether or not delirium
13· · · · · · · · · You can answer.                               13· ·tremens occurs when someone's blood alcohol level is at
14· · · · · ·A.· · ·He had received two in the morning of the     14· ·0?
15· ·14th.                                                        15· · · · · ·A.· · ·Yes.· Once you hit 0, then the body starts
16· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· What it's showing       16· ·to develop symptoms of withdrawal.
17· ·me -- look at the 13th.· How much Xanax did he receive on    17· · · · · ·Q.· · ·Okay.· Did you ask Mr. Schwark if he had
18· ·the date November 13th, based on this chart?                 18· ·ever had DTs?
19· · · · · ·A.· · ·Based on this chart, he got 1 milligram       19· · · · · ·A.· · ·I don't recall asking Mr. Schwark if he
20· ·that night.                                                  20· ·had had them.
21· · · · · ·Q.· · ·And you would agree that that is -- if he     21· · · · · ·Q.· · ·Do you know whether anyone ever asked him
22· ·was taking, on his own, four doses a day of 1 milligram      22· ·if he ever experienced DTs, delirium tremens?
23· ·each, only receiving 1 milligram on the 13th would have      23· · · · · ·A.· · ·I don't know if anyone asked him.
24· ·been a significant reduction?                                24· · · · · ·Q.· · ·Do you know if he had any history of DTs?
25· · · · · · · · · MR. MICHALEK:· Object to form --              25· · · · · ·A.· · ·I don't know.


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·1· ·to the jail, do you?                                         ·1· ·discontinued or switched to Librium until the 14th, until
·2· · · · · ·A.· · ·He might have been taking 8 milligrams a      ·2· ·after the patient had the seizure, right?
·3· ·day, and he doesn't want to fess up to that because          ·3· · · · · ·A.· · ·Correct.
·4· ·that's not what it says.· I don't know.                      ·4· · · · · · · · · MR. MICHALEK:· Okay.· Thanks.
·5· · · · · ·Q.· · ·Well, if he was taking 8 milligrams a day     ·5· · · · · · · · · MR. LANE:· Nothing further.
·6· ·and he gets cut down to 3 milligrams a day, that's a         ·6· · · · · · · · · THE REPORTER:· Mr. Ziporin, same order as
·7· ·radical departure, isn't it?                                 ·7· ·before, and you'll handle signature?
·8· · · · · ·A.· · ·That would be a bigger -- certainly, a        ·8· · · · · · · · · MR. ZIPORIN:· Yes.
·9· ·bigger change than from 4 to 3.                              ·9· · · · · · · · · THE REPORTER:· Mr. Michalek, same order as
10· · · · · ·Q.· · ·And we could expect some pretty               10· ·before?
11· ·significant side effects to kick in or some effects from     11· · · · · · · · · MR. MICHALEK:· Yes.
12· ·withdrawal -- because that's not a gradual taper, is it?     12· · · · · · · · · THE REPORTER:· Mr. Lane, same order?
13· · · · · · · · · MR. MICHALEK:· Object to form and             13· · · · · · · · · MR. LANE:· Yes.
14· ·foundation.                                                  14· · · · · · · · · THE REPORTER:· Do you need it expedited?
15· · · · · · · · · MR. ZIPORIN:· Same objection.                 15· · · · · · · · · MR. LANE:· No.
16· · · · · ·A.· · ·I would have to clarify all of that with      16· · · · · · · · · THE REPORTER:· Okay.· Thank you.
17· ·the doctor.                                                  17· · · · · · · · · · * * * * * * * * * * * *
18· · · · · ·Q.· · ·(By Mr. Lane)· Okay.                          18· · · · · · · · · (WHEREUPON, the foregoing deposition was
19· · · · · ·A.· · ·I don't know for sure.                        19· ·concluded at the hour of 2:03 p.m.· Total time on the
20· · · · · · · · · MR. LANE:· I have no further questions.       20· ·record was 59 minutes.)
21· · · · · · · · · MR. MICHALEK:· Let me ask some follow-up      21
22· ·to clarify the record.                                       22
23· · · · · · · · · · · · · EXAMINATION                           23
24· ·BY MR. MICHALEK:                                             24
25· · · · · ·Q.· · ·You were given this medication sheet          25
                                                        Page 46                                                            Page 48
·1· ·earlier.· It's page A 282, the November 2013 medication      ·1· · · · · · · · · I, JERI SWANN, R.N., the deponent in the
                                                                  ·2· ·above deposition, do acknowledge that I have read the
·2· ·administration.
                                                                  ·3· ·foregoing transcript of my testimony, and state under
·3· · · · · ·A.· · ·Uh-huh.
                                                                  ·4· ·oath that it, together with any attached Statement of
·4· · · · · ·Q.· · ·Is that a "yes"?                              ·5· ·Change pages, constitutes my sworn statement.
·5· · · · · ·A.· · ·Yes.                                          ·6
·6· · · · · ·Q.· · ·So on the 13th at 1630, there's a note        ·7
·7· ·that says, Call Dr. Fitting with report, and orders          · · ·_____· I have made changes to my deposition

·8· ·continue of the Xanax, correct?                              ·8
                                                                  · · ·_____· I have NOT made any changes to my deposition
·9· · · · · ·A.· · ·That says to continue the alprazolam.
                                                                  ·9
10· ·Yeah.                                                        10
11· · · · · ·Q.· · ·So on the 13th, Dr. Fitting is continuing     11· · · · · · · · · · · · · · _______________________________
12· ·the Xanax that was prescribed by Dr. Singer, correct?        · · · · · · · · · · · · · · · JERI SWANN, R.N.
13· · · · · ·A.· · ·Correct.                                      12

14· · · · · ·Q.· · ·There wasn't any discussion about             13
                                                                  14
15· ·discontinuing or tapering the Xanax until after the
                                                                  15· ·Subscribed and sworn to before me this· _________ day
16· ·patient had a seizure and fell on the 14th, correct?
                                                                  16· ·of· ·________________________.
17· · · · · ·A.· · ·Correct.· But I don't even recall that we,    17
18· ·at that point, discussed the taper.· She said, Switch to     18· · · · · · · · · My commission expires: ________________
19· ·Librium for now.                                             19
20· · · · · ·Q.· · ·Right.· These questions about, Oh, well,      20· · · · · · · · · · · ·____________________________________
                                                                  · · · · · · · · · · · · ·Notary Public
21· ·they were tapering him from 4 milligrams to 3 milligrams,
                                                                  21
22· ·isn't consistent with the record, is it?
                                                                  22
23· · · · · ·A.· · ·It isn't consistent with that statement       23
24· ·there.                                                       24
25· · · · · ·Q.· · ·Okay.· In fact, the Xanax wasn't              25



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